     Case 8:22-cv-02422-TDC Document 10-1 Filed 09/29/22 Page 1 of 11




                         '
                         U NITED STA TES DISTR IC T C OU RT
                         FOR TH E D ISTR ICT O F M ARY LA ND
                                    (GreenbeltDivision)
JO E JOH N SO N                                   M
                                                  v.

                                                  j
       Plaintiff'
                ,                                 j
                                                  j
                                                  jCIVIL N().8:22-cv-02422-r
                                                                           1-17(7
                                                                                -
TH IN K CO M PUTER C II1kPII14A TIO N             b
                                                  b
       Defendantv

                       M EM O IG ND UM O F LAW IN SIJPPO RT O F
                  PLAINTIFF'S M O TIO N 1'0 ST RIK E NO N-PA RTY 'S
            NO 'rIC E O F REM O VA L A ND T0 (
                                             R EM A N D -1=0 STA TE C O URT

       Plaintiff,JoeJohnson,subm itsthiss'Iem orandum ofLaw in SupportofhisYlotionto Strilte

N on-party'sN otice ofRem ovaland to Rem and to State Court.and says:

                                        INTRO DIJCTIO N

                                                                        15,2022, against the

Defendant,Think ConèputerCorporation (hereinafter,VlDefbndant''orkçcorporate Defendant'')in
the DistrictCourtforPrinceGeorge'sCounty,M aryland (ûklRistrid Court'').Tbesuitalleged state
law clailmsagainstthedefendantforInvasionofPrivacyb).
                                                    'lntrusion tlpon Seclusion(countl),
l-lnjustEnrichlment(CountIl),violationoftheszlaryland ConsunâerProtectionAct(Count111),
violation 01'
            -the Nfaryland PersonalInform ation Protection z
                                                           4ctand Unfair and Ileceptive -lkade

practice (Count lV),Negligence (CountV),and lntentionallnfliction of ElnotionalDistress
(CountVl).See,(Doc.2).PlaintiffpluyedtbriudgmentagainsttheDetkndantitonaI1ofhisclain'
                                                                                    ls
in anafnountthatgdid)notexceed$25,0001'anddemandedtljury trial.ld.()1)Jttly'20,2022,in
Iightofthetifnely f-
                   iling ofthejury deluand,theDistrictCourt,thentransferredthecasetothe
CircuitCottrtforPrinceGeorge'sCounty,N'
                                      lat'
                                         yland (s%circuitC-
                                                          'ourt''),tDoc.I,at!'
                                                                             t4).
     Case 8:22-cv-02422-TDC Document 10-1 Filed 09/29/22 Page 2 of 11




       On July 26,2022,the CircuitCourtissued notice ofthe trallsferto the pal-ties pursuantto

N'Ial
    -yland Rule 2-326.See (Doc.1-l,p.5).On Septelmber6,2022,theCorporate Defendantwas
selwed thrtlugh its resident agentw ith a copy ofthe CircuitCourtsum m ons and com plaintby

certifsed rnai1.(161.,at!15(
                           ).On September23,2022,AaronGreenspan,('sGreenspan'-lssvho is??t'
                                                                                          //
a named Defendant in the action,f5led the instantnotice of rem ovalpurporting to relnove the

CircuitCourtcasetothisCourtunder281..
                                    1.S.C.jl44
                                             'l(a).See(Iloc.#1).lnhisremovalpapers,
Greenspan alleg.esthathe,tkerroneously sued asThink ComputerCorporation,isa defendant'-5 and
                                                                            .




d'thisCourthasoriginal'
                      jurisdiction overtheabove-captioned action pursuantto 28U.S.C.s
                                                                                    %1332,

as there is com plete diversity among al1 partis, and the am ount in controvvrsy exceeds

$75,000.00'5.1(
              .
              1.at,#r
                    1
                    t
                    ll,9 G reenspan then allegesthatl-pursuantto28 LJ.S.C .8
                      .
                          .   .                                            %,l367,thisCotlrt

hassupplementaljurisdictionoverPlaintift-'sstatelavvclai.
                                                        ms.''161.at4:
                                                                    1l().Despitebeingserved,
                                                                    4
the Corporate Defendanthasneverattem pted to removethe action tkom the CirctiitCotll4and is

notcurrently represented by anattorney who isanlem berofthebarofthis(-ourt.



Avasfsled by an individualw ho isnota pm-ty to theaction,s.
                                                          s.
                                                           '
                                                           l'
                                                            1o is notan attorney nora m em berof

the barofthisCourtand :,
                       $/110 nlay notappearon behalfofthe corporatedefkndant.Thus,thiscase

isnotproperly before the Courtand itshould theretbre be relmankled to the CirctlitCoul
                                                                                     -t,and in

any event,thefzourtIacksdiversity fbderalrelmoval.iurisdictiontlverthestate-lavvbasedclail
                                                                                         '
                                                                                         usin
thattheanlountincontroversydoesnotexceedthethresholdjurisdictionalannountandtllereisno
basisforexercising supplenlentaliurisdiction w here none efthe claii
                                  ..
                                                                   ns raises a federalquestion.

Ptlrsuantto the safe-harborprovision ofRule 11(c)()fthe FederalRules ofCivilProcedure,
Plaintiffhasserved the non-party uzith a m otion tbrsanctionsin anticipation ofseeking a.prefiling

injunction,costandotherremediesasasanctionfortheinaproperrenlovalofthisStatecottrtactitèn.
      Case 8:22-cv-02422-TDC Document 10-1 Filed 09/29/22 Page 3 of 11




                                   I1.       LEG A L AR G UM EN 'F

           Aaron G reenspau'sNoticeofRemovalisa Nullitv U'nder28 U.S.C-$1441in that
           H eisnotaN am ed D efendantin the CircuitC ourtaction and thusLacks Standine.

       Section 1441(a)provides:
       i'Exceptasothemvise expressly provided by ActofCongress, any civilactlon broughtin a
       StatecourtofwhichthedistrictcourtsoftheUnited Stateshaveoriginaliurisdiction,may
       beremovedbythedefendantort/lcdejkndants,tothedistrid cottl-tofthet-lnitedStates
       forthedistrictanddivisionembracingtheplacewheresuch action ispending ''(emphasis).
                                                                                     .



       Section 1441(a)plainly contelnplatesthatthel'emovalof8:
                                                             1Statecourtcivilactionofvvhich
thedistrictcourtsoftheUnited Stateshaveoriginaljurisdiction,fiberemovedbythedefenilaj'
                                                                                     )toi'
.
tlledefendants''.In the instantaction,Aaron Greenspan,who isnota i'defendant'''noralicensed
attorney inthe Stateofszlaryland orelsmvhere,t'
                                              iledthenoticeofi'
                                                              emovalthrough materially tt
                                                                                        qlse

representations in tbat in his rem ovai papers he falseiy represented to the Uourt that

b'erroneously sued as Think Com puter Corporation, i
                                                   sadefentlant.''Doc.1,at!'1.Nothingcould
be fttl-thertl-on)the truth.Greenspan %sisthe fbunder, President,CEO,Chairman ofthe Board of

Directors,and l00?.
                  z$ oyvrierofThink ConnputerCorporation--'lit-een,
                                                                  îpan,ï?Jat
                                                                           '.c.Adlninistrative

4)//
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    -ct?t?/-//lt
               dLr
                 nffc
                    d#States(-
                             .-
                              .f-
                                àzfr/t
                                     '
                                     ;,etu1.,CivilNo.5:l4-cv-2396(Bl-1'
                                                                      .
                                                                      ');seet.
                                                                             ?/,
                                                                               $t),Exhibit!.
       Plaintiff''s claim s here are asserted only againstthe Corporate Defendant, notGreenspan,

w'ho isno strangerto litigation,having tsled num erous tiivoloussuits in the tlnited States District

Courttbrthe N orthern D istrictofCalifornia in his tm successftlleffortsto representthe Corporate

Defendant.I-
           hink (-
                 't'
                   ?/?zJ-w/'
                      .    cz-('
                               ..
                                k)rp.3,
                                      '.Venchiarutti,5:ll-(-
                                                           .V-5496 (HRLI'
                                                                        sThink Ce
                                                                                'fpzz/p?a
                                                                                        //cr(-
                                                                                             ''
                                                                                              okp   .




v.Dwolla,5:13-CV-2054 (E.
                        JD);Think C.otnpu?er (7
                                              .(?cp.p.Square,Inc..5.
                                                                   .14-CV-l374 (PSG).
Sinlply stated,the pIaintiffisthe inaster(,1-thec(-
                                         .        )lm plaintand hasthe option ofnan-
                                                                                   ling 01.
                                                                                          11/,
                                                                                             'those


                                                         '
16J.h/loortt,etf//.,5loore'sFederaII>ractiktejl(.
                                                '
                                                i7.l4j
                                                     '2jjcl,1f)6-67(3ded.20()6)).
                                                         .
      Case 8:22-cv-02422-TDC Document 10-1 Filed 09/29/22 Page 4 of 11




       In any event,a non-party,Iike Cireenspan,m ay notrem ove orparticipate in the relnovalof

                                                                                   1973) (removal
iurisdictioncannotbeprem ised on anon-party'spresenceintheaction.).Adereover,an entityelike
the Corporate Defendanthere,ûzwillnotbe consideredto bea part'
                                                             y untilithasm ade an appearance



clearthata case l'
                 iled in state courtm ay be rem oved to fbderalcourtonly by the defkndantorthe

defendants.Sce,e.g.,Valenciav.AllslateTcx/u
                                          s'Lloyd%,976F.3d593,595(5thCir.2020)(quoting


isnota det-endantand accordingly lackstheauthority to reinove acase.''Id.,'see n
                                                                               skp/ti/ztw-v.Allstate

7èx.flo.vd'
          .
          5'
           ,lnc.,455 17.3d 571,575 (5* Cir.2006)tkbl
                                                   'q'
                                                     'll'
                                                        )erean entity hasnotproperly been
made a party in state court,removaljtlrisdiction cannotbe premised on its presence in the
actionv''le
          'FDIC.v.Lt)4.
                      '
                      J,955 F.2d 316,326 (5tl
                                            'Cir.1992)('çcon-
                                                            lmonsenseandthepracticalities
ofpleading dictate thatno non-pal-ty'to a state coul-tproceeding has a n'lature rightto relmove tbat

proceedingtofederalcou14.-');uf
                              j-
                               fillweed,472F.2(iat272(holdingthatthatthedistrictcourtlacked
subjectmatterjurisdictionoverasuitrelnovedbyanon-partydefendant).
       TheSuprelmeCourthasnoted,albeitin adifferentcontext(bankruptcy),thata statutethat
û'authorizesspecif'icaction and designatesapal
                                             -ticularpartyempoweredtotakeitisstlrely among

the leastappropriate in u'hich to presum e nonexclusivity.xW l
                                                             Ael-
                                                                e a statute ...nam es the pat-ties

grantedtthe)rightto invokeitsprovisions,...suchpal-tiesonlynlayact.''-llartford tl//'
                                                                                    ?f/k
                                                                                       :
                                                                                       ?f-'
                                                                                          pk//.
                                                                                              -ï/crâ'
Ins.(-
     .b.v-Llhion p/
                  'z/r//crl
                          S'Bank A'
                                  tz1.,530 U-S-1,6-7.(2000)(cjuoting 2,1.N.Singer,Sutherland
on Statutory Construction j4
                           '7.23,p.2l7 (5?hed.199
                                                .2))(alterationsinl-lal-tford Undenvriters).
The sam e rings true bere. Section 1441 authorizes a specit'
                                                           ic action, /.c.,reynoval,and then

clesignatesa pm-ticularparty enlptnvered to take ite/.c.ta detbndant.G reenspan isnota defendant.


                                                4
      Case 8:22-cv-02422-TDC Document 10-1 Filed 09/29/22 Page 5 of 11




       '
       Fhe Corporate Defendanthas notm ade an appearance kl
                                                          '
                                                          1the state courtsuit,nor has it

rem oved the caseand itwould be contrary to the plain language ofthe statute to allow a non-party,

Greenspan,to takethataction.

       Nloreover,the party invoking federal'
                                           jurisdiction always bearsthe btlrden ofshosving that



necessary prerequisite to the party's doing so is thatthe party is,vvell,a party.G reenspall isll't,

al4cltherefbre,he hasno standing to invokttthefederalremovalstatue,so federaliurisdiction is
im proper.(L
           .
           '
           .j.
             -Valencia.97617.3d at596(i-Asanon-party,Allstatelllinoisdidnothavetheright
to removethec.aseto federalcourt.''l-
                                    ,Edgarv.Coats,45z1
                                                     .F.su)np.3d 502,520 (D.Md-2020)
(notingt-ykl-ticlelIlstandingisaprerequisitetostibject-matterjurisdiction.f').Forthisreasonalone,
the notice ofrem ovalthatG rtenspan G led purporting to rem on
                                                             ke the C ircuitCourt action to this

Courtisa nullity on the face ofthe rem ovalstatute and itshoutd therefore be stricken-

       2. A aron G recnspan isnotan A ttorney.nor is he a m em ber ofthe bar ofthisCourt
          and therefore IIe m ay notA ppearon behalfofthe Corporate Defendant.

       Evttn though Greenspan isnt-
                                  lta nam ed defkmdant;how everahe also isnotan attorney nor

a mem ber ol-the barof this Courtanclcannotappear on behalf ofthe Corporate Detkndant. >hs

notedbytheSuprel'
                neCourt,h'gilthasbeentheIa'
                                          kvforthebetterpaf'
                                                           toftlvocenturies,fbrexalnple,
thata corporation lmay appear in the federalcourts on1).
                                                       'through licensed counsel.''Roîvland 1,,

Q''
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             fc
              -n%,C.
                   b/'t-
                       ?z?y'
                           ,Cl'
                              nif'11J
                                    z
                                    h.
                                     ,
                                     Jen,.
                                         3'Advisot-vf-
                                                     bzfncj/,506U.S.l94,20l-02(I993)(quoting
Osbornv.Pvesidetlt(jfScr?k(?,
                            /'UnitedSftzftt
                                          w,9 Wheat,738,829,6 L.Ed.204(1824));i
                                                                              '
                                                                              Vyevsv.
                                                              (:%The rightto litigate foroneself,
however, does not create a coordinate right to litigate fbr others.'') lo-
                                                                         .
                                                                         '
                                                                         itil'
                                                                             tg (.
                                                                                 ?xc/'
                                                                                     ?#/rktr


pku-tiesotherthan individualsm ustberepresented bycounsel'').
      Case 8:22-cv-02422-TDC Document 10-1 Filed 09/29/22 Page 6 of 11




       N otably,tla.
                   e C-orporate Delkndanthaslleverattem pted to rem ove the CireuitC(.
                                                                                     m l4 action

and isnotcurrently represented by an attorney wllo isainem berofthebarofthisCourt.Greenspan

isfully aware thatasfounder,President,C E(),Chairm an ofthe Board ofD irectors,and owner01-

the Corporate Defendant,he m ay notappearon behalfoftheentity and tile pleadingson itsbehalf

because the courtpreviotlsly puthim on notice ofthis factin Grccrbypftr/.c/t://.J,
                                                                                 '.vqdlninistrative

O-//
   -l
    -ct?oflhe&W#(?JStatest)7.
                            y?/r/,
                                 t etal.,Civil'
                                              No.5'
                                                  .14-c:,-2396(BLF).'
                                                                    Thus,Greenspan'sfalse
representation in his rem ovalpapers thathe,bûerroneously sued as 'l-hink Ct
                                                                           xnputerCorporation,

is a defendant'')'
                 w as nnade for purposes oflnisleading the courtand circum venting the statutory

requirel
       m entot-section 1447 thatonly a defendantm ay rem cw e.In any event,tf
                                                                            .
                                                                            lthe extentthatthe

notice of rem oval purports to be f'
                                   iled by G reenspan on behalf of the Corporate Defendant,

however,itm tlst sti11be stricken as the Corporate Defendantm ay only proceed in fkaderalcourt

threugh Iicensed counseland Greenspal),svho is neithera licensed attorney'nora lmem ber01'
                                                                                         -the

barofthisCourtm ay notappearand representthe Corporate Defendanthere oranywhere else.

           Diversitv Jurisdiction under28 tJ.S.C.k1332DoesNotExistBecausetheAm ount
           in Controversv lsLessThan The $75,000 JurisdictionalM inim tlm .

       Lastly,even assulming,arguendo,Greenspan wasadefbndant(whichheplainly isnotj,
and had standing to invoke the federalrernovalstatute;however,rem ovalwould sti11be innproper

sincediversity jurisdictiondoesnotexist.Therightofremovalfronlastatecourtto atbderalcotu-t
existsonly in cel-tain enum erated classes ofactions,and in orderto exercise tbe rightol
                                                                                       -rel
                                                                                          -noval,

it isessentialthatthe case be show n to be one w ithin one ofthose classes.C/4t?-
                                                                                s'.c'
                                                                                    Q Ohio Ry.v.



theparty renxoving.1T
                    ,'
                     ilsonv.Repttblic.
                                     /rfp?'
                                          /drSteel(L
                                                   '().,257U-S.92,42S-Ct.35(I92l).The
                                                   .
removalstatutesare strictly construed in favorofstatecourtjurisdiction.S/'
                                                                         lt:
                                                                           pfz?l-t
                                                                                 '
                                                                                 ?cl'OiIc'
                                                                                         t G(o'
t)
 'olr
    p.v,Sheets,313 U.S.100,61S.Ct-868 t1941).

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      Case 8:22-cv-02422-TDC Document 10-1 Filed 09/29/22 Page 7 of 11




       On a m otion to rem and,the courtm usttûstrictly construe tl
                                                                  ae relmovalstatute and resolve

alIdoubts in favor oframanding the case to state c'ourt-''See,.
                                                              R/c/z
                                                                  /lzW-
                                                                      $lf
                                                                        .
                                                                        )z?v.Phili
                                                                                 p A,
                                                                                    /ta
                                                                                      'r/.
                                                                                         '?
                                                                                          k Inc.,

950 F'.Supp.700,70I-02 (D.Nld.199
                                .7)(internalquotation marksomitted).Thisstandardretlects
that reltlctance ef fedttralcourts ûtto interfere with mattefs propel-ly bel
                                                                           b re a state court,''1d.A

defbndantis entitled to ren-tove to thttappropriate federaltlistrictcourtany civilaction Overh'
                                                                                              vhich

districtcourtshaveoriginaljurisdiction,includingcasesçûarising undertheConstittltion,laxvs,or
ti-
  eatiesoftheUnitedStates.''28 U-S.C.$.133l.Seealso28Ll.S.C.i1441(a);(.
                                                                      -
                                                                      .
                                                                      '
                                                                      i(v(#'Chicagov.
lnn C()ll.f
          g/-sfz/rgtrt'
                      ?zk,
                         j'
                          ,522 (.
                                J.S.156,163(l997).
       G reenspan,althotlgh notnam ed as a detbndantin the C ircuit Courtaction,alleges in his

rennevalpapersthatththisCourthasoriginal'
                                        Iurisdiction overtheabove-captioned actionpursuant

to28U.S.C.jl332,asthereiscompletediversityamongalIparties,andtheamountincontroversy
exceeds$75,0000.5'Notice.atj!$).Greenspan alsoallegesthatpursuantto 28 U.S.C.j1367,this
CourthassupplementaljurisdictionoverthePlaintifpsstatelaw clainns,eventhough no federal
claimsareallegedinthecomplaint.hl.,at!:I0.Nootherbasisforfederaljurisdictionisalleged.
       The Fourth Circuithasnotdeternâined the exactstandaf-d to be applied in aseertaining the

amotmtin controversy in federa!diversity cases.See,t.g.,L
                                                        %f
                                                         't.
                                                           l/'
                                                           ' )7f.
                                                                p7'
                                                                  w.ljf
                                                                      '
                                                                      lt
                                                                       ''ggfc.lnoo'-
                                                                                   :Intk L.L.(L
                                                                                              .
                                                                                              >.,

205 F-Supp.2d 506,509 11.2(13.N'ld.2002).However,thisCoul4hasreasonedthat:
       (i'
         jn determining whetheran amotmtin controversy issuffscientto conferjurisdiction,
       courts apply one of two legalstandards depending on whetherthe daznages are specified
       orunspeeif-ied inthecomplaint.yvhereaplaintiffclaimsaspecillcannountindamagesthat
       islessthan$75,000,renlovalisproperonly ifthedetkndantcan provetoa legalcel-tainty
       thatthe plaintiffw ould actually recover m ore than thatifshe prevaiIed.If,on tlle other
       hand,aplaintiff scolnplaintdoesnotalleg.e aspecif'    icam ountindamages,adefendant
       need only prove by a preponderance ofthe evidence thatthe alnountin controversy
       exceedsthejurisdictionalnlillil'
                                      ntu'n.
tz
?/t4/p//k,205F.Supp.2c1at509-l0 tintenaalcitationsom itted).
      Case 8:22-cv-02422-TDC Document 10-1 Filed 09/29/22 Page 8 of 11




       I-lere,inhisoriginalcomplaintandjuryclemand,Plaintifflinpiteddamagestûonallofhis
claimsinanalnountthatdoesnotexceed$25,000''.(Doc..2,p.8).T'
                                                          hisanaountisclearlybelow
thestatutoryjurisdictionalminin-
                               lum.SincethePlaintiffhasclaimed2)speci'
                                                                     l-icamountofdarnages
and haslilnitedtheanAountin controversy to $25,000,theburden'
                                                            would beon Greenspan to show'

toalegalct'
          ?z'
            /tW/'
                ?/).
                   'that'
                        thePlaintift>sclailmsinthiscaseexceedtheitlrisdictionallninilnuln-Delph
v.Allstatca
          /#b/'
              r/clvort.
                      b;.,478 F.Supp.2d 852,854 (D.Md.2007).Greenspan hasnotmetand
cannotnneethis burden even it
                            '
                            -he had standing to bring hisrem ovalpetition in thisaction.

       Firstot-all,whiIe the PlaintiffhasalIeged six theoriesofrecovery in the originalcolmplaint,

however,he cannotreceive separate dam ageson allsix theories as Greenspan appearto alleg.e in

his renlovalpapers.See,Notice,at1*
                                 18.M
                                    ' oreover,contrary to Greenspan's l
                                                                      'epresentations,
noss/here in thc CircuitCourtcomplaintdoesthe plaintiffseek ûtbetsveen $I00n()f)0.00 and over

$275,000.00 in compensatory damages,based on Plaintiff's request fbr actual,statutory,and
punitive dam ages, as w elI as other relief,

speculative.Plaintifr'sstate law'claifusin the originalcom plaintrelieson the sam eoperative facts-

A right ofrecovery is distinct from a theory of Iiability'
                                                         ,a plaintiffnnay have only one rightof

recovery though he kdaclvances a variety ol-legal theories to support that reeovery.''Instituto

AWcj
   bpt:
      flDe (N
            .:?7.
                pé?7.
                    -c/J/fzJcj:?7.
                                 ?Agricola f-    /f?t?t?)v.C-onîinenîal
                                            ./r/tr .                  .111.Aïat'
                                                                               lfol/'
                                                                                    7/fcf Trust(7t).t?/'
(.
 'hi.,576 F.Supp.9
                 .9
                  .1,1004 (N..D.lll.1.
                                     983)(Shadklr,.1.).Itisplain thatthetheoriesofrecovery
thatplaintiffadvanced in theoriginalcom plaintCKare lnerely differentbasesfora single recovery.''

lndiana S/r/pt'
              )r Sc//R.R.U.
                          7t'
                            ).v.a,
                                 -
                                 1tnel-ican U'
                                             ).
                                              '
                                              ((
                                               /r)t7?p/t:
                                                        /CV.,860 12.2t1 l44ls 1445 (7t'Cir.1988)
(detsningSingletïclail
                     m''forpurposes()t-Fed.R.Civ.P.54(b)).I-lere,theiniuryallegedandrelief
soughtarethesanne.ltisaSçbasictenetthataplaintifflna
                                                   .yhaveonlyonesatisfactionforaninjury,
regardlessofTvhetherJnultipletheoriesofrecoveryaresoughtforthatinjury-r'Bragado3.
                                                                                /.Cnity(#'


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     Case 8:22-cv-02422-TDC Document 10-1 Filed 09/29/22 Page 9 of 11




       .F.Supp.55l,555 (N-D.111.l993)(Norgle,J.
Zion,839                    .                 )
                                              ..Plaintiffsoriginalcol
                                                                    mplaintintheaetion
statediffkrentIegaltheeriesofrecovery forthe sam einittry,notseparateclaimsforrelief,andthey
                                                    -




cannot be aggregated to nneet the jurisdictionalamount of section l332(a). In Danielv,
                                                                       19,2007),Judge Svatkins
faced a som ew hat sim ilar issue.There,the plaintiffs f'
                                                        iled a com plaintrequesting com pensatory

and punitivedamagesnotto exceed $74,999,asserting claimsforfraudulentsuppression,breach
ofcontract,fiaud,and negligence.Nvhen the defendantcontested theplaintif-
                                                                        fs'rcm and m otion by

claim ing the claimsshotlld be aggregated,Judge '
                                                Wratkinsdisagreed,lpolding thatthe defbndants

ç'failedtoshow thataggregation isproper-''2007JV
                                               'L453312lat*2.Hereasonedthat,ttgsvlhilea
plaintiff can stle for both a breach of contractand a tort arising out ofa single transaction,the

claimsarenotaggrttgatedbecausetheplaintiffcanrecoverfbreitherbutnotforboth.''161.(citing
C.ombined,vctfl'
               .,lnc.v.Lynnf//cc-
                                s'
                                 .(7f.
                                     )c7..
                                         ,888F-2d 106,l07n.4 (l1thCif-.l989.
                                                                           )).I'lealsorelied
on A labama Iaw,noting how'$baplaintiffcannotceceive a idotlble recovery'forsvhatisessentially



Yetin Holnîes3.
              1.Stkt?/.
                      lr/ngerIngelhcim #/3tzr//.
                                               ?lt'
                                                  .cff/ït?tz/,j'
                                                             . ,lnc.. 158F.Supp.
                                                                               zd866(N-D.llI.200l),
a districtcourtdecided a case m ore analogousto the one atbar,and did so consistentw ith Judge

M/atkins'Danieldecision.'l-I1eplaintifrsconlplaintinHolmessoughtdamages11l-personaliqiury
and contained tw o counts:one fornegligence,the othertbrstrictliability.Each m ade reference to

$50,000 in damages,unlike how in this case the plaintiff limited his damages in the original

cemplaintto$25,000-Thelï
                       lollnesdefkndantsarguedthattheplaintiffasselledtwodistinctclaims

tbr$50,000,which,svhen aggregated,exceeded thejtirisdictionalthreshold.The districtctAurt
disagreed,holding thatç'CountsIand llofthe plaintiff'scom plaint...state differentIegaltheories

ofrecoveryfbrthesame injury,notseparateclaimsforrelief,''n'leaningthattheycould not-sbe

                                                9
        Case 8:22-cv-02422-TDC Document 10-1 Filed 09/29/22 Page 10 of 11




aggregatedtol'
             neetthejurisdictionalainountofjl332(a).''1(1.at868.ln reachingthisresult,the
H olmescourtexplained the difference betw een a standalone clailn and a theol-y ofrecovery:

         Both clainps rely on the san-le facts and allege a failure to warn;alIthat differs
         betNveen the tw o clailms are the allegationsofthe nature ofthe defkndants'duties.
         zlright4/'recovety f-
                             $-diuincîfrom a l/?t?t
                                                  qv-)?ofliabililv;aplaintiff'mayhaveonl),
                                                                                         '
         one rightofrecovery though she kadvances a variet'
                                                          y oflegaltw
                                                                    heoriesto support
         thatrecovery-'

                                               v DeConlercializacion-4pricola v.C'ontinenlal111.
161.(emphasisadded)(quoting InstitutoArlcjtpr/t'                        .




         Applying thisreasoning,thellolmesceurtnoted I
                                                     '
                                                     jow'kçgtlhe theoriesofnegligenceand
strictIiability are ilmerely differentbasesfora single recovery.'''hl.(quoting .
                                                                               /PJ.Iiarbor Bclt


G//fpr.Ins.Co.,N0.1:08-CV-2l8,200f)SVL 88340,at*2 (D.Vt.January 12,2009)(ûiclaims
seeking the same damagesunderdifferenttheoriesmay notbe aggregatttd.'').Thus,the district
cotn-tfound aggregation inapprtlpriate and held thatthe am ountin controversy did notexceed the

iurisdictionalminimulm.Siluply stated,sincethe Plaintifflinnited his dalmagesin the original
complaintfkol-
             jalIofhisclaim s''in the amountof$25,000,and attheti/ne off-
                                                                        iling thisaction in
thestatecoui'
            tthe Plaintiffexplicitly estimated thevalueofthiscaseto be no morethan $25,000,
the burden would restNvith Greenspan to show to a legalt'
                                                        .
                                                        kdr/tz/rktl/thattheclain'
                                                                                ls in thisaction

exceedthejurisdictionalm inilmum.'Greenspan,however,simplycannotj
                                                                '
                                                                ueetbisburdenandthis
is an independentbasis forwby tlle Courtshotlld relnand this action to the CircuitCourtbecause

diversityfederaljtlrisdictiondoesnotexistasthealnountincontroversydoesnotexceed$75,000.



1Onthef-  actsallegedintheoriginalcom plaintinthisaction, G reenspan could neverhope to show
          t
to a legalceI
    .        -tainkv thatthePlaintiffcould recover*ûbetween $100,000.00and over$275,000.009'
in dam ages as he alleges to be the am ount in controversy in his notice of rem oval,1etalone the
$75,000minimum diversityjurisdictionalreqtlirelment.See,Notice,atjf
                                                                  .8.
                                                1()
     Case 8:22-cv-02422-TDC Document 10-1 Filed 09/29/22 Page 11 of 11




                                        CO NCLUSIO N

       Thiscase was im properly rem oved by G reenspan from the C'ircuitCoul-tof Nzlal
                                                                                     -yland lbr

PrinceGeorge'sCotlnty because Greenspan isnota nam ed detkandantin the action,and therefore,

had no standing to invokethe l-
                              ederalrem ovalstattlte.M tlreover,since he is plainly notan attorney,

nora meluberofthe barofthis Court,Greenspal)lmay notappearand tile pleadingson behalfof

the Corporate Defendantin the action.Finally,Greenspan has fkiled to prove thatfbderalrem oval

'urisdiction existed atthe til'
j                             ne ofrem tw alsince the PlaintiffsclainAs do notraise a fkyderalissue,

andtheamotintincontroversydoesnotmeettheI'
                                         ninifntu'
                                                 .
                                                 ndiversityjurisdictionthresholdalmotlnt.
GreenspanthushadnoobjectivereasonablebasisforrefnovingthisCircuitCourtaction,andthe
filing ofthe removalwas in any eventa directviolation ofRule ll ofthe FederalRules ofCivil

ProcedtlreandtheCourtshouldretainjurisdictiontoentertainamotiontbrsanctions.
       A ccordingly,tbrthe reasonsset-follh httrein,the Courtshould strike the notice ofrem oval

fsled by Greenspal)and rem and thisaction to the CircuitCourtforPrince G eorge'sCounty.

                                                            Respectfully subm itted,

                                                                                 C'z
                                                                                   s'-  A'c'''
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                                                                                  f.x.t'#:f:.Jé
                                                                    k               kJ
                                                                                     '..iF '-''
Septem ber28,2022                                              e Johf on
                                                                     ,             t,.'
                                                            PostOfflce Box 441572
                                                            Fol4 W ashington,M D 20749




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